        Case 1:25-cv-01659-TJK          Document 20        Filed 05/30/25     Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                     )
SHIRA PERLMUTTER,                                    )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )      No. 1:25-cv-01659-TJK
                                                     )
TODD BLANCHE, et al.,                                )
                                                     )
               Defendants.                           )
                                                     )

                      DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
                     MOTION FOR ENTRY OF BRIEFING SCHEDULE

       1.      Plaintiff filed this lawsuit last Thursday, along with a motion for a temporary

restraining order. See ECF Nos. 1-2. After expedited briefing over the Memorial Day weekend,

this Court held a hearing on Plaintiff’s motion and, after argument, denied the motion from the

bench. See Minute Order, May 28, 2025. In its oral decision, this Court explained that it was

denying Plaintiff’s motion because she had “not met her burden of showing that she will suffer

imminent irreparable harm,” as required to obtain emergency injunctive relief. See Tr. of Hr’g on

Mot. for Temporary Restraining Order at 52 (May 28, 2025) (“Tr.”).

       The Court then directed the parties to submit a proposed briefing schedule by 5 p.m.

yesterday (May 29) in the event Plaintiff decided to file a motion for a preliminary injunction. See

Minute Order, May 28, 2025.

       Despite this Court’s invitation, Plaintiff did not propose a briefing schedule for a

preliminary injunction motion. Instead, she submitted the present motion for a briefing schedule

to govern a motion for summary judgment. See ECF No. 16. Plaintiff’s proposed briefing

schedule would proceed on a highly expedited schedule:

                                                 1
          Case 1:25-cv-01659-TJK          Document 20        Filed 05/30/25       Page 2 of 4




        (1) Plaintiff’s motion for summary judgment: June 5

        (2) Defendants’ opposition to Plaintiff’s motion for summary judgment: June 12

        (3) Plaintiff’s reply in support of motion for summary judgment: June 16

Id. at 1-2.

        2.     Plaintiff has failed to justify the highly expedited summary judgment schedule she

requests. As her sole justification for this request, Plaintiff urges that “there remains a pressing

need for both the parties and the public to obtain a speedy resolution of this matter, as the leadership

of the Library of Congress and the Copyright Office will remain in dispute until the legality of

Defendants’ actions is adjudicated on the merits.” ECF No. 16 at 1. But there is nothing

“pressing” about a legal issue remaining “in dispute” until an adjudication on the merits after a case

has run its normal course. That is true of all litigation, but that fact does not give every plaintiff a

right to expedited proceedings. And it especially should not here, where this Court recognized in

denying the motion for a temporary restraining order that Plaintiff has failed to show that any of

the purported harms she identified are either irreparable or imminent. See Tr. at 52. In the face

of that ruling, Plaintiff has no basis for claiming a “pressing need” for this case to be resolved on

the highly expedited timeline she proposes—one that would give Defendants half of the default

time under Local Rule 7(b) to prepare their opposition brief, and only a few days longer than they

had to prepare their opposition to Plaintiff’s motion for a temporary restraining order.

        The expedited summary judgment schedule Plaintiff proposes is not just unwarranted, but

it would do a disservice to this Court’s ability to fully consider the issues in this litigation. As the

parties’ briefing on the motion for a temporary restraining order illustrates, Plaintiff’s claims

implicate important questions regarding the interpretation of federal law (the Federal Vacancies

Reform Act) and the scope of certain aspects of the President’s Article II authority. Indeed, this

                                                   2
         Case 1:25-cv-01659-TJK          Document 20        Filed 05/30/25      Page 3 of 4




Court expressed its view during the hearing that this case raises difficult legal issues. E.g., Tr. at

7 (“You each have to grapple with a significant amount of evidence on the other side”). Requiring

the parties to engage in another episode of rushed briefing would hinder their ability to provide this

Court with a thorough and fully considered analysis of these issues.

       The Court should not entertain Plaintiff’s request to “confer further with Defendants to

determine a schedule for briefing a preliminary injunction” in the event this Court denies her

requested summary judgment briefing schedule. ECF No. 16. This Court gave Plaintiff that

opportunity already, but rather than propose a schedule for preliminary injunction briefing to

Defendants, Plaintiff filed her present motion. That is no doubt because Plaintiff does not believe

she could obtain a preliminary injunction given this Court’s holding that she has failed to show the

irreparable harm necessary for emergency injunctive relief.          Having declined this Court’s

invitation to pursue a preliminary injunction motion, Plaintiff should not be permitted to force

summary judgment briefing to proceed on the fast-track schedule she proposes without being able

to show the threat of imminent irreparable harm that normally justifies such highly expedited

proceedings.

       Accordingly, the Court should deny Plaintiff’s proposed schedule for summary judgment

briefing. To the extent Plaintiff still intends to file a motion for summary judgment at this early

juncture—before Defendants have been properly served and their 60-day timeline to respond to the

complaint triggered (much less run)—Defendants respectfully request that the Court enter the

following schedule to govern the parties cross-motions for summary judgment:




                                                  3
       Case 1:25-cv-01659-TJK      Document 20           Filed 05/30/25        Page 4 of 4




Plaintiff’s Motion for Summary Judgment          June 5, 2025, or later date
Defendants’ Combined        Opposition   to June 26, 2025, or 21 days after Plaintiff’s
Plaintiff’s Motion for Summary Judgment and Motion for Summary Judgment
Cross-Motion for Summary Judgment
Plaintiff’s  Combined    Opposition       to July 17, 2025, or 21 days after Defendants’
Defendants’ Cross-Motion for Summary Combined Opposition and Cross-Motion for
Judgment and Reply in Support of Plaintiff’s Summary Judgment
Motion for Summary Judgment
Defendants’ Reply in Support of Cross-Motion July 31, 2025, or 14 days after Plaintiffs’
for Summary Judgment                         Combined Opposition and Reply



Dated: May 30, 2025                       Respectfully submitted,

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                                           Acting Assistant Attorney General

                                           ERIC J. HAMILTON
                                           Deputy Assistant Attorney General

                                           CHRISTOPHER HALL
                                           Assistant Branch Director
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